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                    EXHIBIT F
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                                                                U.S. Department of Justice

                                                                Civil Division, Fraud Section



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Via Courier or Over-night Delivery                    March 17, 2009

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Neil Merkl
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101 Park Avenue
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         Re:       Average Wholesale Price Multi-District Litigation
                   MDL No. 1456/C.A. No. 01-12257-PBS (D. Mass.)

Dear Counsel:

         Enclosed please find two categories of material. The first category, bearing bates prefix
HHD336, is additional material the Government is producing from the Office of Legislation,
CMS. The second category, bearing bates prefix HHD335, includes material pertaining to
Illinois State Plan Amendment 02-09.

        With respect to the material from the Office of Legislation, this production includes draft
versions of an internal CMS memorandum. The locations of text in the draft memos which have
been redacted based on the deliberative content have been specified by use of a “redacted”
legend. Additionally, pursuant to instructions from counsel for the Government Accountability
Office (GAO), we have withheld GAO material consisting of two draft reports and a draft
version of congressional testimony that were in the CMS files. Final versions of the draft
reports, entitled “Medicare: Payment for Covered Outpatient Drugs Exceed Providers’ Costs”
and “Medicare Physician Fee Schedule: Practice Expense Payments to Oncologists Indicate
Need For Overall Refinements” were issued by the GAO in September 2001 and October 2001,
respectively. The draft testimony relates to drugs covered by Medicare Part B and provides
comments regarding an ongoing GAO study of Medicare’s payments for Part B-covered drugs.

         Thank you for your attention.

                                          Very Truly Yours,

                                                /s/
                                         Justin Draycott
                                         Trial Attorney
                                    Commercial Litigation Branch
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                                     -2-


Enclosures
cc:    Jim Breen
       George B. Henderson
